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                UNITED STATES DISTRICT COURT FOR THE
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
                            IN ADMIRALTY

                                 Case # - 21-CV-56

THOMAS CAITO,

              Plaintiff,

v.

ONE 66’ COMMERCIAL FISHING VESSEL (MMSI: 366783820,
Call Sign: WCZ8756, USCG ID: 641819), known as the M/V
MISS KATHI, its engines, tackle, equipment, apparel,
appurtenances, etc., in rem, ROBERT LONG, in personam,
and M/V MISS KATHI INC. a/k/a
SUPERIOR SEAFOOD,

              Defendants.
                                         /

                            VERIFIED COMPLAINT

     COMES NOW, Plaintiff, THOMAS CAITO, by and through the undersigned

counsel, files his Complaint against Defendants, ONE 66’ COMMERCIAL

FISHING VESSEL, known as the M/V MISS KATHI, its engines, tackle, equipment,

apparel, appurtenances, etc., in rem, ROBERT LONG, in personam, and M/V MISS

KATHI INC a/k/a SUPERIOR SEAFOOD, in personam, and states that:

                 ALLEGATIONS COMMON TO ALL COUNTS

     1. This is an action for damages against Defendant in excess of Seventy-Five

        Thousand Dollars ($75,000.00).

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  2. Jurisdiction is proper in this Court under 28 U.S.C. 1333, and Article III,

     section 2 of the U.S. Constitution, which provides federal courts with original

     jurisdiction to hear admiralty or maritime cases, “saving to suitors in all cases

     all other remedies to which they may be entitled”.

  3. At all times material to this cause of action, Plaintiff, THOMAS CAITO, was

     a resident of the State of Florida and is all ways sui juris.

  4. Upon information and belief, at all times material to this cause of action,

     Defendant, M/V MISS KATHI INC a/k/a SUPERIOR SEAFOOD

     (hereinafter referred to as ‘SUPERIOR SEAFOOD’), was a Florida Profit

     Corporation, doing business under the laws of the State of Florida.

  5. At all times material to this cause of action, the Defendant vessel, the M/V

     MISS KATHI, was registered in the State of Florida.

  6. Upon information and belief, at all times material to this cause of action,

     Defendant, SUPERIOR SEAFOOD, was and is the true owner of the

     Defendant vessel, ONE 66’ COMMERCIAL FISHING VESSEL, known as

     the M/V MISS KATHI (USCG ID: 641819; MMSI: 366783820; Call Sign:

     WCZ8756).

  7. At all times material to this cause of action, the Defendant vessel, M/V MISS

     KATHI, was in the navigable waters of the State of Florida, in and around

     Venice, Florida.

  8. Upon information and belief, at all times material to this cause of action,
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     Defendant, ROBERT LONG, was and is a resident of the State of Florida, and

     is in all ways sui juris.

  9. The Defendant vessel, M/V MISS KATHI, is subject to the jurisdiction of this

     Court because it committed a tortious act or omission within the State of

     Florida.

  10. Defendant, SUPERIOR SEAFOOD, is subject to the jurisdiction of this Court

     because it committed a tortious act or omission within the State of Florida.

  11. Defendant, ROBERT LONG, is subject to the jurisdiction of this Court

     because he committed a tortious act or omission within the State of Florida.

  12. On or about January 11, 2018, Plaintiff, THOMAS CAITO, was navigating

     his 29’ 1983 C&C 29 MKII sailboat known as the M/V Take Luck (FL ID

     8813MD), approximately 10 miles off the coast of Venice heading to

     Marathon, Florida, in the Atlantic Ocean, in ‘navigable water’ as defined in

     maritime law.

  13. On or about January 11, 2018, the Defendant vessel, a commercial fishing

     vessel, bearing the name M/V MISS KATHI (ON 641819) (MMSI:

     366783820, Call Sign: WCZ8756), was being captained by Defendant,

     ROBERT LONG, approximately 10 miles off the coast of Venice heading to

     Marathon, Florida, in the Atlantic Ocean, in ‘navigable water’ as defined in

     maritime law, with passengers aboard.

  14. On or about January 11, 2018, Plaintiff was sailing in a southerly direction,
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     headed to Marathon, Florida. Maintaining an off shore distance of

     approximately 10 miles.

  15. Around 4:00 p.m., on January 22, 2018, as Plaintiff was sailing toward

     Marathon, Florida, with his vessel lights on, Plaintiff encountered dense fog,

     causing visibility to be reduced to approximately 50 yards in front of

     Plaintiff’s vessel.

  16. Without warning, the Defendant vessel, the M/V MISS KATHI, travelling full

     speed and without any lights or horn blasts, came out of the fog and struck

     Plaintiff’s sailboat head-on.

  17. Defendant vessel had none of the U.S. Coast Guard required lights for fogged

     conditions lit, and at no time did the Defendant vessel sound any horn blasts

     to alert other vessels of her position as required by the U.S. Coast Guard.

  18. Plaintiff had no time to turn his sailboat to prevent a collision from the

     oncoming vessel, the M/V MISS KATHI.

  19. Defendant vessel failed to keep proper watch and did not alter course in any

     way and struck Plaintiff’s vessel head on.

  20. Plaintiff’s vessel was seriously damaged in the collision and a portion of

     Plaintiff’s vessel was destroyed and lost at sea.

                    COUNT I – NEGLIGENCE as to
            M/V MISS KATHI INC a/k/a SUPERIOR SEAFOOD

  21. Defendant, M/V MISS KATHI INC a/k/a SUPERIOR SEAFOOD, had a legal

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     duty to ensure that its vessel followed the articulated U.S. Coast Guard

     Navigation Rules in the navigation of Defendant vessel in the navigable

     waters of the State of Florida for the protection of other vessels, property, and

     for the protection of human life.

  22. Defendant, M/V MISS KATHI INC a/k/a SUPERIOR SEAFOOD, owed to

     Plaintiff, THOMAS CAITO, the duty to use reasonable care in the operation

     of the Defendant vessel.

  23. At all times material hereto, Defendant, M/V MISS KATHI INC a/k/a

     SUPERIOR SEAFOOD, breached its aforementioned duties, when its

     agent/employee failed to follow the articulated U.S. Coast Guard Navigation

     Rules in the navigation of Defendant vessel in the navigable waters of the

     State of Florida, specifically, Defendant, M/V MISS KATHI INC a/k/a

     SUPERIOR SEAFOOD’s agent/employee:

        a. Failed to keep a proper lookout;

        b. Failed to slow their speed based on the conditions;

        c. Failed to observe vessel instrumentation and/or failed to keep vessel

           instrumentation operational,

        d. Failed to appropriately maneuver the Defendant vessel;

        e. Failed to use correct lighting and/or lighting signals;

        f. Failed to use correct sounding signals;

  24. At all times material hereto, Defendant, M/V MISS KATHI INC a/k/a
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      SUPERIOR SEAFOOD, breached its aforementioned duties, when its

      agent/employee failed to use reasonable care in the operation of Defendant

      vessel.

   25. As a direct and proximate result of Defendant’s, M/V MISS KATHI INC a/k/a

      SUPERIOR SEAFOOD, negligence, Plaintiff THOMAS CAITO, suffered

      damages, including, but not limited to,damage to and/or the total loss of

      Plaintiff’s vessel, and the loss of use of Plaintiff’s vessel.

  WHEREFORE, Plaintiff, THOMAS CAITO, demands judgment against

Defendant, M/V MISS KATHI INC a/k/a SUPERIOR SEAFOOD, and further

demands this Court grant him damages for his injuries and losses caused by

Defendant, M/V MISS KATHI INC a/k/a SUPERIOR SEAFOOD, the costs

incurred by Plaintiff in bringing this action, and any such other remedy and relief as

this Court may deem just and appropriate.

                COUNT II – NEGLIGENCE as to ROBERT LONG

   26. Defendant, ROBERT LONG, had a legal duty to follow the articulated U.S.

      Coast Guard Navigation Rules in the navigation of Defendant vessel in the

      navigable waters of the State of Florida for the protection of other vessels,

      property, and for the protection of human life.

   27. Defendant, ROBERT LONG, owed to Plaintiff, THOMAS CAITO, the duty

      to use reasonable care in the operation of Defendant vessel.

   28. At all times material hereto, Defendant, ROBERT LONG breached his
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      aforementioned duties, when he failed to follow the articulated U.S. Coast

      Guard Navigation Rules in the navigation of Defendant vessel in the navigable

      waters of the State of Florida, specifically, Defendant, ROBERT LONG:

         a. Failed to keep a proper lookout;

         b. Failed to slow the vessel’s speed based on the conditions;

         c. Failed to observe vessel instrumentation and/or failed to keep vessel

             instrumentation operational,

         d. Failed to appropriately maneuver Defendant vessel;

         e. Failed to use correct lighting and/or lighting signals; and

         f. Failed to use correct sounding signals.

   29. At all times material hereto, Defendant, ROBERT LONG, breached his

      aforementioned duties when he failed to use reasonable care in the operation

      of Defendant vessel.

   30. As a direct and proximate result of Defendant’s, ROBERT LONG, negligence,

      Plaintiff THOMAS CAITO, suffered damages, including, but not limited

      to,damage to and/or the total loss of Plaintiff’s vessel, and the loss of use of

      Plaintiff’s vessel.

   WHEREFORE, Plaintiff, THOMAS CAITO, demands judgment against

Defendant, ROBERT LONG, and further demands this Court grant him damages for

his injuries and losses caused by Defendant vessel, the costs incurred by Plaintiff in

bringing this action, and any such other remedy and relief as this Court may deem
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just and appropriate.

     COUNT III – NEGLIGENCE as to ONE COMMERCIAL FISHING
                  VESSEL, known as M/V MISS KATHI

   31. Defendant vessel had a legal duty to follow the articulated U.S. Coast Guard

      Navigation Rules in the navigation of Defendant vessel in the navigable

      waters of the State of Florida for the protection of other vessels, property, and

      for the protection of human life.

   32. At all times material hereto, Defendant vessel owed to Plaintiff, THOMAS

      CAITO, the duty to use reasonable care in the operation of Defendant vessel.

   33. As a result, at all times material hereto, Defendant vessel breached its

      aforementioned duty, when its agent/employee failed to use reasonable care

      in the operation of the Defendant vessel, by:

         a. Failing to keep a proper lookout;

         b. Failing to slow its speed based on the conditions;

         c. Failing to observe instrumentation and/or failing to keep vessel

             instrumentation operational,

         d. Failing to appropriately maneuver Defendant vessel;

         e. Failing to use correct lighting and/or lighting signals; and

         f. Failing to use correct sounding signals.

   34. As a direct and proximate result of Defendant vessel’s negligence, Plaintiff

      THOMAS CAITO, suffered damages, including, but not limited to,damage to

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      and/or the total loss of Plaintiff’s vessel, and the loss of use of Plaintiff’s

      vessel.

   WHEREFORE, Plaintiff, THOMAS CAITO, demands judgment against

Defendant vessel, ONE COMMERCIAL FISHING VESSEL, known as M/V MISS

KATHI, and further demands this Court grant him damages for his injuries and losses

caused by Defendant vessel, the costs incurred by Plaintiff in bringing this action,

and any such other remedy and relief as this Court may deem just and appropriate.

    COUNT IV: MARITIME LIEN as to ONE COMMERCIAL FISHING
                VESSEL, known as M/V MISS KATHI

   35. Pursuant to 46 U.S.C. 313.01(5)(B), the tort visited upon Plaintiff by Defendant

      vessel gives rise to a maritime lien against Defendant vessel, ONE

      COMMERCIAL FISHING VESSEL, known as M/V MISS KATHI, and in

      favor of Plaintiff for the damages caused by the Defendant vessel.

   36. Plaintiff is entitled to assert its said maritime lien by way of arrest of the vessel, pursuant

      to Rule C of the Supplemental Rules for Certain Admiralty and Maritime Claims of the

      Federal Rules of Civil Procedure, and Local (Admiralty) Rule 7.05.

   37. That Defendant vessel, ONE COMMERCIAL FISHING VESSEL, known as

      M/V MISS KATHI collided with Plaintiff’s vessel in the coastal waters of the

      State of Florida, in and around Venice, in Sarasota County, due to no fault of

      Plaintiff.

   38. That under federal maritime law and under the rules of the U.S. Coast Guard, a


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      vessel is responsible not to collide with other vessels or persons.

   39. As a result, at all times material hereto, Defendant vessel breached its

      aforementioned duty, when its owner/agent/employee failed to use reasonable

      care in operating Defendant vessel, by:

         a. Failing to keep a proper lookout;

         b. Failing to slow their speed based on the conditions;

         c. Failing to observe instrumentation and/or failing of to keep vessel

            instrumentation operational,

         d. Failing to appropriately maneuver Defendant vessel;

         e. Failing to use correct lighting and/or lighting signals;

         f. Failing to use correct sounding signals;

   40. As a direct and proximate result of Defendants’ negligence, Plaintiff

      ROBERT CAITO, suffered damages including, but not limited to, damage to

      and/or the total loss of Plaintiff's vessel, and the loss of use of Plaintiff's

      vessel.

   41. Plaintiff has made demand for compensation for Plaintiff’s damages to his

      vessel; however, nothing has been paid to Plaintiff.

   42. Plaintiff has the right to pursue a foreclose of his lien through arrest of the

      offending vessel, and to seize Defendant vessel and hold it until his lien is

      satisfied or until sale of the offending vessel is ordered by the Court.

  WHEREFORE, Plaintiff, THOMAS CAITO, demands judgment against
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Defendant vessel, ONE COMMERCIAL FISHING VESSEL, known as M/V MISS

KATHI, and prays for the following:

   A. That process in due form of law according to practices of this Court and causes

      of Admiralty and Maritime           Jurisdiction may issue against         ONE

      COMMERCIAL FISHING VESSEL, known as M/V MISS KATHI, its

      engines, tackle, equipment, apparel, appurtenances, etc., with an MMSI:

      366783820, the Call Sign: WCZ8756, and the USCG ID: 641819, in rem (or

      against its substitute security in rem) and against Defendant, ROBERT LONG,

      in personam, and M/V MISS KATHI INC a/k/a SUPERIOR SEAFOOD, in

      personam, and that all persons having or claiming any interest therein be cited

      to appear and answer under oath all in singular the matters aforesaid, and that

      this Court announce a Judgment in favor of Plaintiff in a reasonable amount for

      the damages sustained by Plaintiff, with costs and prejudgment interest;

   B. That this Court grant to Plaintiff, named above, such other and further relief as

      this Court may deem just and appropriate within its equitable powers.

Respectfully submitted on this 8th day of January, 2021.

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